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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

UNITED STATES OF AMERICA ex rel.     §
JEAN-MARC EICHNER and BRANDON        §
LOYD and JEAN-MARC EICHNER and       §
BRANDON LOYD, Individually,          §
                                     §
                                           Civil Action No. 4:19-cv-00524-ALM
      Relators,                      §
                                     §
                                               JURY TRIAL DEMANDED
v.                                   §
                                     §
OCWEN LOAN SERVICING, LLC, et al.,   §
                                     §
      Defendants.                    §

       RELATORS’ SUR-REPLY IN OPPOSITION TO OCWEN FINANCIAL
     CORPORATION’S AND OCWEN LOAN SERVICING, LLC’S MOTION TO
      COMPEL RELATORS TO RESPOND TO INTERROGATORIES 2, 3, & 4
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I.     INTRODUCTION

       Despite futile attempts to recast Interrogatory Nos. 2–4 as seeking only factual information

and their unfounded claim that Relators have “admit[ted]” that the information sought by

Interrogatory No. 2 is “not privileged” and “discoverable” (Dkt. 103 at 1), Defendants Ocwen

Loan Servicing, LLC and Ocwen Financial Corporation (collectively “Ocwen”) cannot deny their

interrogatories’ reach for privileged information drawn from Relators’ disclosure statements and

communications with the government and government investigators. Interrogatory 2 even seeks

Relators’ work product through which to discern the documents Relators selected for inclusion in

the disclosure statements and why. Interrogatory Nos. 3 and 4 seek substantive information

regarding Relators’ pre-suit government communications, which are protected by the common

interest doctrine. Because Ocwen fails to show that it has substantial need for or that it lacks the

ability to obtain the information through other means without undue hardship, the Court should

deny the motion to compel and simply order the parties to exchange privilege logs within 30 days.

II.    ARGUMENTS AND AUTHORITIES

           A. Interrogatory 2 Seeks Protected Information, Not Merely Factual Information
              Regarding Relators’ Documents.

       While Ocwen now contends that it “has the right to discover when each document was

provided to the government,” that was not the information sought by Interrogatory No. 2. See

Dkt. 103 at 2. Interrogatory No. 2 explicitly seeks the identification of documents “provided to the

United States as part of [Relators’] disclosures under 31 U.S.C. § 3730(b)(2).” Dkt. 99-1, Ex. A

at 5 (emphasis added). It therefore seeks the identification of the precise documents that Relators’

counsel selected for inclusion in the disclosure statements. This information is protected from

discovery by the work product doctrine as at least ordinary work product, if not opinion work

product. Dkt. 101 at 6–8. Because Interrogatory No. 2 seeks the disclosure of which documents



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Relators selected for use in their § 3730(b)(2) disclosure statements, it does not merely seek basic

factual information about when Relators disclosed documents to the government. Insight into

counsel’s strategic considerations is not the proper subject of factual discovery.

       However, when Defendants properly requested non-privileged factual information about

Relators’ documents in their interrogatories, such as which “Ocwen Documents” Relators had in

their possession after leaving Ocwen, Relators provided it. See Dkt. 101 at 12. In addition, Relators

have already disclosed the dates that Relators provided their disclosures to the government,

produced all documents underlying their disclosures, and identified the material witnesses that

Relators disclosed to the government. See Dkt. 101 at 2–4. Relators have repeatedly proposed that

the parties exchange privilege logs on a mutually agreed date (or as ordered by the Court), which

will provide Ocwen further information on the timing of Relators’ disclosures to the government.

In fact, Ocwen’s own documents show that Relators have already provided Ocwen with the same

factual information that the relators in Fisher and Homeward disclosed to Ocwen—a fact that

Ocwen now pointedly ignores. See id. at 9. Thus, it is not that Relators seek to have the Court

impose “a lower standard for disclosing evidence” here (Dkt. 103 at 3). Rather, it is that Ocwen

seeks the Court to increase that standard to require disclosure of Relators’ protected work product.

       Ocwen does not dispute that the Fisher and Homeward relators were not required to answer

an interrogatory in the form of Interrogatory No. 2, or that those relators identified which

documents were selected for inclusion in which disclosure statements. Instead, Ocwen contorts a

portion of Relators’ argument in an attempt to show that Relators have admitted that the

information sought by Interrogatory No. 2 is “not privileged” and “discoverable.” Dkt. 103 at 1.

But Relators never made such concessions, and no reader could, in good faith, glean such an

admission from their response. Relators argued that Ocwen cannot show a substantial need for the




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information sought by Interrogatory No. 2 because it could obtain non-privileged information

about the documents produced by Relators via other discovery methods 1 without asking Relators

whether specific documents were referenced in Relators’ disclosure statements under § 3730(b)(2).

See Dkt. 101 at 12–13. Critically, Ocwen does not explain why it cannot seek discovery regarding

“the timing elements of the original source exception” without reference to the § 3730(b)(2)

disclosures using the information already disclosed by Relators. See Dkt. 103 at 3.

       Ocwen also argues that Relators somehow waived any claim of privilege by “put[ting] that

matter at issue.” Dkt. 103 at 3. To the contrary, this Court rejected a similar argument made by the

defendant in JPMorgan because “[i]t was actually Defendant who placed the disclosure statements

‘at issue’ by moving for summary judgment on the public-disclosure bar,” and the relators “did not

rely on the disclosure statements themselves to advance their original source-argument.” See 2020

WL 3265060, at *9. Similarly, Relators have not placed their § 3730(b)(2) disclosure statements

at issue and have not relied upon the inclusion of specific documents in the disclosure statements

to support their original source argument. Instead, Relators argue that their knowledge and

independent observations of violations—which they had before submitting the disclosure

statements—qualifies them as original sources. Accepting Ocwen’s waiver argument would

discourage all FCA relators from providing detailed disclosure statements to the government,

which is inconsistent with public policy. See id. at *9–10.



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  The Court has repeatedly emphasized the availability of other discovery methods, including
depositions, as an indication that defendants cannot show a substantial need for the discovery of
disclosure statements. See, e.g., United States ex rel. Fisher v. Ocwen Loan Serv., LLC, No. 4:12-
CV-543, 2015 WL 4609742, at *4 (E.D. Tex. July 31, 2015) (“Ocwen has the opportunity to
question Relators regarding the information contained within their allegations and their
investigative efforts.”); see also United States ex rel. Fisher v. JPMorgan Chase Bank N.A., No.
4:16-CV-395, 2020 WL 3265060, at *7 n.2 (E.D. Tex. June 17, 2020) (noting that defendants still
had time to obtain “more factual information about what Realtors informed the Government about
prior to filing their complaints” through other discovery).


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       In essence, Ocwen’s argument boils down to this: that without knowing which documents

were cited in which of Relators’ disclosure statements, Ocwen supposedly cannot adequately test

whether Relators’ voluntarily disclosed to the government the information on which their

allegations are based before filing this lawsuit. While Ocwen claims that it “is not seeking this

information to verify that Section 3730(b)(2)’s procedural requirements were satisfied” (Dkt. 103

at 1 n.1), it plainly seeks the information to explore an alleged potential procedural short comings

with respect to § 3730(e)(4)(B). See Dkt. 99 at 3. As this Court held in JPMorgan, a “[d]efendant

cannot rely on an uncertain legal argument regarding potential procedural short comings in order

to demonstrate a substantial need.” See 2020 WL 3265060, at *7 (quotations omitted).

           B. Interrogatory No. 3 Seeks Privileged Information Concerning Relators’
              Communications with the Government.

       Defendants do not attempt to refute the authority cited by Relators demonstrating that the

the substance of Relators’ communications with the government, including a summary of Relators’

disclosure statements, is protected from discovery by the common interest doctrine. Compare

Dkt. 101 at 13–14, with Dkt. 103 at 4. Because Interrogatory No. 3 seeks that exact privileged

information, Relators need only comply with the requirements of Federal Rule of Civil

Procedure 26(b)(5) and produce a privilege log. See United States ex rel. Reddell v. DynCorp Int’l,

LLC, No. 1:14-CV-86, 2019 WL 12875494, at *2 (E.D. Tex. Sept. 17, 2019) (Crone, J.) (ordering

the production of a privilege log for relator’s privileged communications with the government);

Dkt. 101-9 at 9 (same). Indeed, Ocwen now concedes that it “does not object to Relators providing

their answers in the form of a detailed log.” Dkt. 103 at 4. But, contrary to Ocwen’s suggestion,

Relators are not seeking to delay providing this information. Quite the opposite. Relators have

consistently offered Ocwen to exchange a privilege log on an agreed date (and are willing to do so

sooner than thirty days if Ocwen can do so as well). But because Defendants have refused to



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identify such a date, Relators have requested that the Court set a deadline for the exchange of

privilege log within 30 days of the Court’s order resolving Ocwen’s motion to compel.

           C. Interrogatory No. 4 Seeks Privileged Information Concerning Relators’
              Communications with Government Investigators.

       Like Relators’ communications with the government itself, Relators’ communications with

SIGTARP—a government investigator—are protected from discovery by the common interest

doctrine. See Dkt. 101 at 14. Ocwen does not meaningfully refute this point. Instead, Ocwen argues

that it “has a strong and substantial need for the information … for purposes of assessing

materiality under Universal Health Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176

(2016) and this Court’s ‘actual knowledge’ standard.” Dkt. 103 at 5. But Ocwen failed to make

this argument in its opening brief with respect to Interrogatory No. 4 (see Dkt. 99 at 12–14) and

thereby waived it. See Sparrow v. EK Real Estate Servs., NY, LLC, No. 4:22-CV-00046-SDJ-CAN,

2023 WL 3035359, at *10 n.6 (E.D. Tex. Feb. 9, 2023) (“[T]he Court need not consider this

argument because arguments raised for the first time in a reply (or sur-reply) brief are waived.”).

Regardless, Relators’ communications with SIGTARP relating to Ocwen would not necessarily

show the government’s “actual knowledge” of the fraud—at best, they would show that SIGTARP

had awareness of Relators’ allegations of fraud, which is insufficient to establish lack of materiality

under Escobar. See JPMorgan, 2020 WL 3265060, at *8–9. Indeed, the Court rejected a

defendant’s argument that it had a substantial need for production of relators’ disclosure statements

in JPMorgan for this very reason. See id. (refusing to hold that “any dispute regarding materiality

requires discovery of a relator’s disclosure statement”).

III.   CONCLUSION

       Relators respectfully request that the Court deny Ocwen’s motion to compel responses to

Interrogatory Nos. 2–4 and order the parties to produce privilege logs within 30 days.



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 Dated: July 27, 2023                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this notice was served on all counsel of record who

have consented to electronic service as this district requires in accordance with Local Rule

CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel

of record not deemed to have consented to electronic service were served with a true and correct

copy of the foregoing by email on July 27, 2023.

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